EXHIBIT A
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                                         SUMMONS                                                                           ron COURT use am.v
                                                                                                                       (Sev.n P*RA USO OEIA CSMTQ
                                     (CITACfON JUDiaAL)
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                                                                                                                                  T'
    NOTICE TO DEFENDANT:                                                                                   9
    (AVISO AL DEMANDADO):
     MEDMARK SERVICES. INC.,
                                                                                                                ?020         10 P        i-.53
    YOU ARE BEING SUED BY PLAINTIFF:
    (LO ESTA DEMANDANDO el DB^NDAHTE):
     JIMMY WALSH, on behalf of himself and all others similarly situated.                                    O ‘''■-B^oere^TfaBar *
I

      NOTICE! You have been sued. TTie court may dedda against you without                being heard unless you respond within 30 days. Read the Infonnation
t     below.
         You have 30 CALENDAR DAYS eftar this summons and legal papers are served on you to file a vnltten response at this court and have a copy
      served m the ptaintifT. A tetter or phone call wBl not protect you. Your written response must ba proper iegel form If you want the court te hear youf
     ease. There rmy he a court form that you cun use for your response. You can find tl^ese court forms and more (nftmnatfon at the California Courts
     Online Setf^tslp Center {www.cou/tMo.Ga.gov^e!fitB^), your county law library, or the courthouse nearest you. If you cannot pnyttteflBng foo. ask
     the court clerk for a fee waiver form, tfyou donotfileyour rB.snon8eon time, you may lose the case by defouit. and your wages, money, wl property
     may be taken without further warning from the court
          ITtere are other legal requirements. You may ward to call an attorney right away. If you do not krtow an attorney, ymj may want to call an attorney
      referrsl saf%rica. K you cannot afford an aitorrtey. you may be eilgthle for free legal services fiOm a nonprofit legal services pro^^m. You can locato
     these nonpraflt groups at Uia Caflfomia Legal Services Web site {viww.lawhetpcQli/omla.ofg), the California Courts Ortlirte Self-Help Center
      (»wvw.courtfolb.ca.gov/seflhofo). or by contacting your local court or county bar associatfon. NOTE: The court has a statutory lien for waived foes and
     costs on any settlement or arbitration award of $10,tXX) or more In a dvil case. The courTs Ban must be paid before Iftu court wil dianiss the case.
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     pager el gravamen da to corta antes da qua to cotie pueda dasachar el oaso.
    The name and address of the court Is;
    (Elnombra y diraccidn da ia corta as): Wakefield Taylor Courthouse                                                         01535
     725 Court Street
     Martinez, CA 94553
I   The name, address, and telephono number of plaintiff's attorney, or ptaintiff without an attorney, fo:
    (B nombra. la dkacci6n y al nOmaro da tai^form del abogado dei damandanta, o del demandante qua no liana abogado, os):
    ToddM. Friedman, 21550 Oxnard St. Suite 780 Woodland Hills, CA 91367,323006-4234
     DATE:                                                               Clerk, by                                                                  , Deputy
     (Facha)                          AU& 1 0 2020                       (Saemtarfo)                        8, POOL                                  (Adjunto)
    (For proof of service of this summons, use Proof of Sendee of Summons (form POS-010).)
    (Para pniaba da entraga da esta citatibn use oi formularto Proof of Service of Summons, (POS^IO)).
                                      NOTICE TO THE PERSON SERVED: You are served
      ISEAtJ
                                      1. I  I as an individual defendant.
                                     2. I 1 as the person sued under the ffetitious name of (specify):

                                        3. CS on behalf of (specify):           MedMark Services, Inc.
                                               urxJen [JsS CCP 416.10 (oorporetion)
                                                                                                   I-----1 CCP 416.60 (minor)
1
                                                     f " T CCP 41620 (d^nrdoorporation)            I     I CCP 416.70 (conservatee)
                                                     t    t CCP 416.40 (assodatlnn or partnorehip) r~n CCP 418.90 (authofbed person)
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                                        4. ^ I by personal d^lvery on (data):
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                                                       COPY
 1   Todd M. Friedman (SBN 216752)
 2   Adrian R. Bacon (SBN 280332)
     Meghan E. George (SBN 274525)
 3   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 4   21550 Oxnard St, Suite 780            7020 fcUS \ 0 P 1*53
     Woodland Hills, CA 91367
 5   Phone: 323-306-4234                 CLS^K
                                            ccuhty .

 6   Fax: 866-633-0228                   9 tt. ^■^""perlSole.this
     tfiiedman@ toddflaw.com                                   SIGNED TO
 7   abacon@ toddflaw.com                                        .FORAU
                                                       oeptOJ.
     mgeorge@toddflaw.com                                  PURPOSES
 8                                  SUMMONS ISSUED
     Attorneys for Plaintiff
 9
                SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                       COUNTY OF CONTRA COSTA
11                        UNLIMITED JURISDICTION

12 JIMMY WALSH, on behalf of himself ) Case             01535
13 and all others similarly situated,      )
                                           ) CLASS ACTION COMPLAINT      CD
14                             Plaintiffs, )   1. VIOLATION OF CALIFORNlA<
15                                         )      DATA BREACH ACT        *n
                     V.                    )   2. VIOLATION OF CALIFO
16                                         )      CONFIDENTIALITY OF
                                                  MEDICAL INFORMATION
17 MEDMARK SERVICES, INC.,                 )
                                           )      ACT
18                           Defendant.    )   3. VIOLATION OF CALIFORNIA
                                           )      UNFAIR COMPETITION LAW
19                                             4. NEGLIGENCE
                                           )
20                                         )
                                               5. NEGLIGENCE PER SE
                                               6. INVASION OF PRIVACY
21                                             7. VIOLATION OF CALIFORNIA
                                                  DATA BREACH ACT
22
23                                             DEMAND FOR JURY TRIAL
24
25                                  INTRODUCTION
26         1.    JIMMY WALSH (“PLAINTIFF”) brings this class action for damages,
27 injimctive relief, and any other available legal or equitable remedies, resulting from
28 the illegal actions of MEDMARK SERVICES, INC. (“DEFENDANT’) and its


                                CLASS ACTION COMPLAINT
 1 related entities, subsidiaries and agents, in failing to secure and protect its patients’
 2 personal    medical information (“INFORMATION”) provided to DEFENDANT.
 3 PLAINTIFF alleges as follows upon personal knowledge as to himself and his own
 4 acts and experiences, and, as to all other matters, upon information and belief,
 5 including investigation conducted by his attorneys.
 6        2.     In or around November of 2018, PLAINTIFF was made aware that
 7 DEFENDANT’S computer systems had suffered a security breach and hackers had
 8 succeeded in gaining access to personal medical information of many of
 9 DEFENDANT’S patients. Said breach, which was caused by DEFENDANT’S failure
10 to employ adequate security standards with respect to the handling of its customers’
11 INFORMATION, has resulted in PLAINTIFF and members of the Class (as defined
12 below) having their INFORMATION compromised and the privacy of their medical
13 records placed in jeopardy.
14                               JURISDICTION AND VENUE
15        3.     This class action is brought pursuant to California Code of Civil
16 Procedure § 382. All claims in this matter arise exclusively under California law.
17 This Court has personal jurisdiction over Defendant because Defendant does business
18 to such an extent within and throughout California as to demonstrate its purposetul
19 availment of the protection and obligations of the laws of the State of California.
20        4.     This matter is properly venued in the Superior Court of California for the
21 County of Contra Costa because that PLAINTIFF resides in the County of Contra
22 Costa and the events giving rise to PLAINTIFF’S causes of action against
23 DEFENDANT occurred within the County of Contra Costa.
24                                           PARTIES
25        5.     PLAINTIFF is, and at all times mentioned herein was, an individual
26 citizen and resident of the County of Contra Costa, State of California.
27        6.     PLAINTIFF is informed and believes, and thereon alleges, that
28 DEFENDANT is, and at all times mentioned herein was, a corporation incorporated

                                 CLASS ACTION COMPLAINT
 1 in the State of Delaware, with its principal place of business in the City of Lewisville,
 2 State of Texas, that is engaged in the treatment of substance abuse,
 3        7.     PLAINTIFF is informed and believes, and thereon alleges, that at all
 4 times relevant DEFENDANT conducted business in the State of California.
 5                                 FACTUAL ALLEGATIONS
 6        8.     DEFENDANT provides addiction treatment and primary healthcare
 7 services nationwide.
 8        9.     PLAINTIFF is a patient at one of Defendant’s treatment facilities.
 9         10.   In or around November 2019, a counselor at one of DEFENDANT’S
10 treatment facilities informed a patient at the facility, who informed PLAINTIFF, that
11 computer hackers had broken into DEFENDANT’S network that contained its
12 patients’ personal medical information and were attempting to blackmail
13 DEFENDANT.
14         11.   The data breach affected hundreds, if not thousands, of patients who have
15 received treatment at any one of DEFENDNAT’S nationwide addiction treatment
16 centers prior to November 2019.
17         12.   DEFENDANT did not, and as of the time of bringing this action, has not
18 notified PLAINTIFF of the security breach, nor has DEFENDANTS publicly
19 acknowledged the security breach.
20         13.   Hackers could not have accessed this information on DEFENDANT’S
21 database but for DEFENDANT'S negligence.
22        14.    DEFENDANT failed to implement and maintain reasonable security
23 procedures and practices appropriate to the nature and scope of the information
24 compromised in the data breach.
25        15.    DEFENDANT knew or should have known that its systems for
26 processing and/or storing patients’ personal medical information were not secure and
27 left the INFORMATION of PLAINTIFF and other members of the Class vulnerable
28 to the release of private information.
                                               2
                                CLASS ACTION COMPLAINT
 1         16.    DEFENDANT recklesslyj or as a matter of gross negligence, failed to
 2 provide reasonable and adequate security measures to ensure that the personal medical
 3 information of its patients would not be compromised.
 4         17.    The compromised INFORMATION, including PLAINTIFF’S, is
 5 extremely sensitive, as the reasonable patient of an addiction rehabilitation facility
 6 would wish to keep their addiction and treatment history from being publicly
 7 disclosed, and would find the public disclosure of their medical information offensive.
 8         18.    Additionally, DEFENDANT failed to notify PLAINTIFF and the other
 9 members of the Class in a timely manner of the security breach, as required by law. .
10         19.    PLAINTIFF and the members of the Class have all suffered irreparable
11 harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and
12 other economic and non-economic losses, as a result of DEFENDANT’S unlawful
13 and wrongful conduct heretofore described.
14
15                               CLASS ACTION ALLEGATIONS
16         20.    PLAINTIFF brings this action on behalf of himself and on behalf of all
17 others similarly situated (“the Class”).
18         21.    PLAINTIFF represents, and is a member of, the Class, consisting of:
19
20
                  All persons within the United States who were patients at
                  any one of DEFENDANT'S nationwide treatment facilities
21                prior to November 2019, and whose personal medical
22                information was compromised as a result of
                  DEFENDANT’S November 2019 data breach.
23
24         22.    DEFENDANT and its employees or agents are excluded from the Class.
25 PLAINTIFF does not know the number of members in the Class, but believes the
26 Class members number in the hundreds, if not thousands. Thus, this matter should be
27 certified as a Class action to assist in the expeditious litigation of this matter.
28
                                                 3
                                  CLASS ACTION COMPLAINT
 1           23.   PLAINTIFF and members of the Class were harmed by the acts and
 2 omissions of DEFENDANT in at least the following ways:                 PLAINTIFF and
 3 members of the Class have lost privacy, money, or property as a result of
 4 DEFENDANT’S negligence and concealments.
 5           24.   PLAINTIFF reserves the right to amend or modify the class description
 6 with greater particularity or further division into subclasses or limitation to particular
 7 issues.
 8        25.      The joinder of the Class members is impractical and the disposition of
 9 their claims in the Class action will provide substantial benefits both to the parties and
10 to the court. The Class can be identified through DEFENDANT’S records or
11 DEFENDANT’S agents’ records.
12        26.      There is a well-defined community of interest in the questions of law and
13 fact involved affecting the parties to be represented. The questions of law and fact
14 pertaining to the Class predominate over questions which may affect individual Class
15 members, including inter alia:
16
17                 a. Whether DEFENDANT unlawfully used, maintained, lost or
                      disclosed Class members’ personal medical information;
18
19                 b. Whether DEFENDANT unreasonably delayed in notifying affected
                      patients of the data breach;
20
21                 c. Whether DEFENDANT failed to implement and maintain reasonable
                      security procedures and practices appropriate to the nature and scope
22                    of the information compromised in the data breach;
23
                   d. Whether DEFENDANT violated the requirements of California
24                    Civil Code Section 1798.80 etseq.;
25                 e. Whether DEFENDANT violated the requirements of California Civil
26                    Code Section 56 et seq.;
27
                   f Whether DEFENDANT’S conduct violated the California Business
28                   & Professions Code § 17200, et seq.;
                                                4
                                  CLASS ACTION COMPLAINT
 1
                 g. Whether DEFENDANT’S conduct was negligent;
 2
 3               h. Whether DEFENDANT acted willfully and/or with oppression,
                    fraud, or malice;
 4
 5               i. Whether DEFENDANT’S conduct constituted Intrusion;

 6               j. Whether DEFENDANT’S conduct constituted Public Disclosure of
 7                  Private Facts;

 8               k. Whether DEFENDANT’S conduct violated Class members'
 9                  California Constitutional Right to Privacy;

10               I. Whether PLAINTIFF and the Class are entitled to damages, civil
11                  penalties, punitive damages, and/or injunctive relief
12
13         27.   As a person whose personal information was compromised as a result of

14 DEFENDANT’S wrongful conduct as herein alleged, PLAINTIFF is asserting claims
15 that are typical of the Class. PLAINTIFF will fairly and adequately represent and
16 protect the interests of the Class in that PLAINTIFF has no interests antagonistic to
17 any member of the Class.
18         28.   PLAINTIFF and the members of the Class have all suffered irreparable

19 harm as a result of the DEFENDANT’S unlawful and wrongful conduct. Absent a
20
   class action, the Class will continue to face the potential for irreparable harm.

21 Because of the size of the individual Class member’s claims, few, if any, Class
22
   members could afford to seek legal redress for the wrongs complained of herein.

23
           29.   PLAINTIFF has retained counsel experienced in handling class action

24
     lawsuits.

25         30.   A class action is a superior method for the fair and efficient adjudication

26 of this controversy. The interest of Class members in individually controlling the
27
   prosecution of separate claims against DEFENDANT is small. Management of these

28 claims is likely to present significantly fewer difficulties than those presented in many
                                            5
                                 CLASS ACTION COMPLAINT
 1 class claims. Litigating this case as a class action will reduce the possibility of
 2 repetitious litigation relating to DEFENDANT’S conduct.
 3        31.    DEFENDANT has acted on grounds generally applicable to the Class,
 4 thereby making appropriate final injunctive relief and corresponding declaratory
 5 relief with respect to the Class as a whole.
 6                                FIRST CAUSE OF ACTION
 7           VIOLATION OF THE CALIFORNIA DATA BREACH ACT, CAL
 8                             CIV. CODE § 1798.80, etseq,
 9        32.    PLAINTIFF incorporates by reference all of the above paragraphs of this
10 Complaint as though fully stated herein.
11        33.    The data breach constituted a “breach of the security system” of
12 DEFENDANT pursuant to California Civil Code § 1798.82(g).
13        34.    DEFENDANT recklessly, or as a matter of gross negligence, failed to
14 provide reasonable and adequate security measures.
15        35.    DEFENDANT unreasonably delayed informing PLAINTIFF and
16 members of the Class about the security breach of the Class members’
17 INFORMATION after DEFENDANT knew of the breach.
18        36.    DEFENDANT failed to disclose to PLAINTIFF and members of the
19 Class, in the most expedient time possible, the breach of security of their
20 INFORMATION after DEFENDANT knew of the breach.
21        37.    As a result of DEFENDANT’S violation of California Civil Code §
22 1798.82, PLAINTIFF and members of the Class suffered economic and non­
23 economic damages, as alleged above.
24        38.    PLAINTIFF, individually and on behalf of the members of the Class,
25 seeks all remedies available under California Civil Code § 1798.84.
26        39.    PLAINTIFF, individually and on behalf of the members of the Class,
27 also seeks reasonable attorneys’ fees and costs under California Civil Code §
28
                                           6
                                CLASS ACTION COMPLAINT
 1 1798.84(g).
 2          40.    By violating California Civil Code § 1798.80 et seq. as alleged above,
 3 DEFENDANT was guilty of oppression, fraud, or malice, in that DEFENDANT acted
 4 or failed to act with a willful and conscious disregard of PLAINTIFF’S and Class
 5 members’ rights.       PLAINTIFF therefore seeks an award of damages, including
 6 punitive damages, in an amount to be proven at trial, on behalf of himself and the
 7 Class.
                          SECOND CAUSE OF ACTION
 8
              VIOLATION OF THE CALIFORNIA CONFIDENTIALITY OF
 9
              MEDICAL INFORMATION ACT, CAL CIV. CODE § 56, etseq.
10
            41.    PLAINTIFF incorporates by reference all of the above paragraphs of this
11
     Complaint as though fully stated herein.
12
            42.    The personal medical information compromised as a result of
13
     DEFENDANT’S data breach constituted “medical information” of PLAINTIFF and
14
     class members pursuant to California Civil Code § 56.05(j).
15
            43.    DEFENDANT recklessly, or as a matter of gross negligence, failed to
16
     provide reasonable and adequate security measures, which led to a disclosure of the
17
     medical information of PLAINTIFF and members of the Class.
18
            44.    DEFENDANT unreasonably delayed informing PLAINTIFF and
19
     members of the Class about the security breach of the Class members’
20
     INFORMATION after DEFENDANT knew of the breach.
21
            45.    DEFENDANT failed to disclose to PLAINTIFF and members of the
22
     Class the breach of security of their INFORMATION after DEFENDANT knew of
23
     the breach.
24
            46.    As a result of DEFENDANT’S violation of California Civil Code §
25
     56.10, PLAINTIFF and members of the Class suffered economic and non-economic
26
     damages, as alleged above.
27
            47.    PLAINTIFF, individually and on behalf of the members of the Class,
28
     seeks all remedies available under California Civil Code § 56.35.
                                                7
                                  CLASS ACTION COMPLAINT
 1          48.   PLAINTIFF, individually and on behalf of the members of the Class,
 2 also seeks reasonable attorneys’ fees and costs under California Civil Code § 56.35.
 3          49.   By violating California Civil Code § 56 et seq. as alleged above,
 4 DEFENDANT was guilty of oppression, fraud, or malice, in that DEFENDANT acted
 5 or failed to act with a willful and conscious disregard of PLAINTIFF’S and Class
 6 members’ rights.      PLAINTIFF therefore seeks an award of damages, including
 7 punitive damages, in an amount to be proven at trial, on behalf of himself and the
 8 Class.
 9                                THIRD CAUSE OF ACTION
10                 UNLAWFUL, UNFAIR, AND FRAUDULENT BUSINESS
11          PRACTICES UNDER CALIFORNIA BUSINESS AND PROFESSIONS
12                                 CODE § 17200, etseq,
13          50.   PLAINTIFF incorporates by reference all of the above paragraphs of this
14 Complaint as though fully stated herein.
15          51.   DEFENDANT'S failure to disclose information concerning the data
16 breach directly and promptly to affected patients constitutes a fraudulent act or
17 practice in violation of California Business & Professions Code section 17200 et seq.
18          52.   DEFENDANT’S acts, practices, and omissions detailed above constitute
19 unlawful, unfair and/or fraudulent business practices and acts, within the meaning of
20 California Business & Professions Code § 17200 et seq.
21          53.   DEFENDANT’S acts, practices, and omissions detailed above constitute
22 fraudulent practices in that they are likely to deceive a reasonable consumer in that
23 PLAINTIFF and Class members were induced to receive treatment from
24 DEFENDANT’S treatment facilities based on the understanding, whether explicit or
25 implied, that DEFENDANT had implemented appropriate security protocols and that,
26 in the event of a loss or breach, DEFENDANT would promptly notify affected
27 patients.
28
                                            8
                                 CLASS ACTION COMPLAINT
 1        54.    DEFENDANT’S acts, practices, and omissions detailed above,
 2 constitute unlawful practices and/or acts as they constitute violations of numerous
 3 provisions of California law, including but not limited to Cal. Civ. Code § 1798.80 et
 4 seq. and the Confidentiality of Medical Information Act, Cal. Civ. Code § 56 etseq.
 5        55.    DEFENDANT has committed all of the aforesaid acts of infringement
 6 deliberately, willfully, maliciously and oppressively, without regard to PLAINTIFF
 7 and Class members’ legal rights. As a direct and proximate result of DEFENDANT’S
 8 unlawful, unfair and fraudulent business practices as alleged herein, PLAINTIFF and
 9 Class members have suffered injury in fact will continue to suffer injury and/or harm
10 including, but not limited to, anxiety, emotional distress, loss of privacy, and other
11 economic and non-economic losses.
12        56.    Pursuant to California Business & Professions Code § 17203,
13 PLAINTIFF seeks an order of this Court prohibiting DEFENDANT from engaging
14 in the unlawful, unfair, or fraudulent business acts or practices set forth in this
15 Complaint and/or ordering DEFENDANT to perform its obligations under the law.
16
17                              FOURTH CAUSE OF ACTION
18                                       NEGLIGENCE
19        57.    PLAINTIFF incorporates by reference all of the above paragraphs of this
20 Complaint as though fully stated herein.
21        58.    DEFENDANT came into possession of the INFORMATION of
22 PLAINTIFF and other Class members and thus had a duty to exercise reasonable care
23 in safeguarding and protecting such INFORMATION from being compromised, lost,
24 stolen, misused, and/or disclosed to unauthorized parties.
25        59.   Moreover, DEFENDANT had a duty to timely disclose that the
26 INFORMATION of PLAINTIFF and Class members that was within its possession
27 had been compromised.
28
                                           9
                                CLASS ACTION COMPLAINT
 1        60.   DEFENDANT had a duty to have procedures in place to detect and
 2 prevent the loss or unauthorized dissemination of said INFORMATION.
 3        61.   DEFENDANT, through its actions and/or omissions,              unlawfully
 4 breached its duty to PLAINTIFF and Class members by failing to exercise reasonable
 5 care in protecting and safeguarding said INFORMATION within its possession.
 6        62.   DEFENDANT, through its actions and/or omissions,              unlawfully
 7 breached its duty to PLAINTIFF and Class members to exercise reasonable care by
 8 failing to have appropriate procedures in place to detect and prevent dissemination of
 9 PLAINTIFF’S and other Class members’ INFORMATION.
10        63.   DEFENDANT, through its actions and/or omissions,             unlawfully
11 breached its duty to timely disclose to PLAINTIFF and the Class members the fact
12 that their INFORMATION had been compromised.
13        64.   DEFENDANT'S negligent and wrongful breach of its duties owed to
14 PLAINTIFF and the Class proximately caused PLAINTIFF and Class members'
15 INFORMATION to be compromised.
16        65.   As a direct and proximate cause of DEFENDANT’S failure to exercise
17 reasonable care and use commercially reasonable security measures its databases
18 were accessed without authorization and customers’ INFORMATION was
19 compromised and exposed to unauthorized access.
20        66.   As a further direct and proximate cause of DEFENDANT’S failure to
21 exercise reasonable care as described herein, PLAINTIFF and Class members have
22 suffered economic and non-economic damages as described above and prayed for
23 below in an amount according to proof at trial. PLAINTIFF is informed and believes
24 and based thereupon alleges that DEFENDANT will continue to negligently fail to
25 adequately protect the INFORMATION of PLAINTIFF and other patients. As a
26 result of DEFENDANT’S conduct PLAINTIFF seeks declaratory and injunctive
27 relief, restitution, and compensatory and punitive damages.
28
                                             10
                                CLASS ACTION COMPLAINT
 1           67.   In failing to secure PLAINTIFF’S and Class members’ INFORMATION
 2 and promptly notify them of a data breach or loss, as alleged above, DEFENDANT
 3 was guilty of oppression, fraud, or malice, in that DEFENDANT acted or failed to act
 4 with a willful and conscious disregard of PLAINTIFF’S and Class members’ rights.
 5 PLAINTIFF therefore seeks an award of damages, including punitive damages, in an
 6 amount to be proven at trial, on behalf of himself and the Class.
 7                                 FIFTH CAUSE OF ACTION
 8                                    NEGLIGENCE PER SE
 9           68.   PLAINTIFF incorporates by reference all of the above paragraphs of this
10 Complaint as though fully stated herein.
11           69.   As herein, DEFENDANT violated various statutes, including California
12 Civil Code §§ 1798.80 et seq., which requires a business that licenses, owns, or
13 maintains INFORMATION to give prompt notification to persons potentially affected
14 by a security breach.
15           70.   This statute was intended to protect customers’ information from
16 unauthorized disclosure and to ensure prompt notification of any such unauthorized,
17 unlawful disclosure.
18           71.   As a direct and proximate cause of DEFENDANT’S violation of the
19 foregoing statutes, PLAINTIFF and members of the Class have suffered and will
20 continue to suffer other forms of injury and/or harm including, but not limited to,
21 anxiety, emotional distress, loss of privacy, and other economic and non-economic
22 losses.
23        72.      By engaging in the negligent conduct as alleged above, DEFENDANT
24 was guilty of oppression, fraud, or malice, in that DEFENDANT acted or failed to act
25 with a willful and conscious disregard of PLAINTIFF’S and Class members’ rights.
26 PLAINTIFF therefore seeks an award of damages, including punitive damages, in an
27 amount to be proven at trial, on behalf of himself and the Class.
28


                                  CLASS ACTION COMPLAINT
 1                                SIXTH CAUSE OF ACTION
 2                                  INVASION OF PRIVACY
 3        73.   PLAINTIFF incorporates by reference all of the above paragraphs of this
 4 Complaint as though fully stated herein.
 5        74.    The INFORMATION of PLAINTIFF and other consumers of
 6 DEFENDANT was and continues to be private information. PLAINTIFF and each
 7 member of the Class had a legally protected informational privacy interest in the
 8 confidential and sensitive information that DEFENDANT obtained and unlawfully
 9 disseminated.
10        75.    PLAINTIFF and other members of the Class had a legally protected
11 autonomy privacy interest regarding their INFORMATION without unwanted
12 observation, intrusion, or interference.
13        76.    PLAINTIFF and members of the Class reasonably expected that their
14 confidential and sensitive information would be kept private.
15        77.    DEFENDANT’S failure to secure and protect PLAINTIFF’S and other
16 customers’ INFORMATION resulted in the public disclosure and publication of such
17 private information to third parties, including but not limited to hackers.
18        78.    Dissemination of PLAINTIFF’S and other consumers’ INFORMATION
19 is not of a legitimate public concern; publicity of their INFORMATION would be, is,
20 and will continue to be offensive to PLAINTIFF, putative class members, and other
21 reasonable people.
22        79.    DEFENDANT’S wrongful actions and/or inaction as described above
23 constituted and continue to constitute a serious invasion of the privacy of PLAINTIFF
24 and other consumers by publicly disclosing private facts (i.e., their INFORMATION).
25        80.    PLAINTIFF and other consumers were and continue to be damaged as a
26 direct and/or proximate result of DEFENDANT’S invasion of their privacy by
27 publicly disclosing their private facts (Le., their INFORMATION) in the form of,
28
                                            12
                                 CLASS ACTION COMPLAINT
 1 inter alia^ anxiety, emotional distress, loss of privacy, and other economic and non­
 2 economic harm, for which they are entitled to compensation.
 3         81.      In violating the privacy of PLAINTIFF and Class members as alleged
 4 above, DEFENDANT was guilty of oppression, fraud, or malice, in that
 5 DEFENDANT acted or failed to act with a willful and conscious disregard of
 6 PLAINTIFF’S and Class members’ rights. PLAINTIFF therefore seeks an award of
 7 damages, including punitive damages, in an amount to be proven at trial, on behalf of
 8 himself and the Class.
 9
                                     PRAYER FOR RELIEF
10
           WHEREFORE, PLAINTIFF respectfully requests that the Court grant
11
     PLAINTIFF and the Class members the following relief against DEFENDANT:
12
           a. An order certifying the proposed class and appointing PLAINTIFF and
13
                 PLAINTIFF’S counsel to represent the Class;
14
           b. Injunctive relief prohibiting DEFENDANT from engaging in such conduct
15
                 as alleged herein in the future;
16
           c. Actual, statutory and/or punitive damages;
17
           d. Restitution, or any other equitable relief the Court may deem just and
18
                 proper;
19
           e. Pre-judgment and post-judgment interest;
20
           f. Reasonable attorneys’ fees and costs of the suit, including expert witness
21
                 fees; and
22
           g. Any other relief the Court may deem just and proper.
23
     ///
24
     ///
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     ///
26
     ///
27
     ///
28
     ///
                                               13
                                    CLASS ACTION COMPLAINT
 1                                 TRIAL BY JURY
 2       PLAINTIFF hereby demands a jury trial on all issues so triable.
 3
 4 Respectfully Submitted this 7th Day of August, 2020.
 5                          LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 6                                 By: /s/ Todd M. Friedman
 7                                     Todd M. Friedman
                                       Law Offices of Todd M. Friedman
 8                                     Attorney for Plaintiff
 9
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                                           14
                              CLASS ACTION COMPLAINT
                                                                                                   COP¥                      COIMTUSeONLY
                                                                                                                                                      CM-010


  Law Offices of Todd M. Friedman
  21550 Oxnard St, Suite 780
  Woodland Hills, CA 91367
      TELEPHONENO.: 323-306'^234
 ATTORNEY FOR pvOTtj; Plaintiff, Jimmy Walsh
SUPERIOR COURT OF CALIFORMA, COUNTY OF CODtra CoStE
                                                          FAXNo.: 866-633-0228                                0                ‘ i           i
    STREET AOORESS: 725 COlUt StTCCt                                                                                                       P US3
    MAILMG ADDRESS: 725 COUlt StTeOt                                                                                7Q20
   cTTYANoapcooE: MaTtincz, 94553
       BRANCH NAME: Wakefield. Taylor Coxathouse
  CASE NAME:                                                                                                                                               G
 Jimmy Walsh v. MedMark Services, Inc.                                                                          O av:                     ■ < rr/'gSSr
                                                                                                         CASE numberiT-    Ti.t'O'--- ■
     civil CASE COVER SHEET                                  Complex Case Designation
f/l Unlimited                I I Limited
                                                           1 1 Counter              1 1 Joinder
                                                                                                            C20-01535
        (Amount                      (Amount                                                                   JUDGE:
        demanded                     demanded Is          Filed with first appearance by defendant
        exceeds $25,000}             $25,000 or less)           (Cal. Rules of Court, rule 3.402)               DEPT:
                                         Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes Utls case:
   Auto Tort                                            Contract                                       Provislonafly Complex Civil Litigation
    ^ Auto (22)                                                  Breach  of contracUwartanty    (06)   (Ca*-                         3.400-M03)
          1 Uninsured motorist (48)                      __ I Rule 3.740 collections (09)              i    1 Arrtitrustn'rade regulation (03)
   Other PI/PDAWD (Persona) tnJuiy/Property              ^ Other collections (09)                      LJ Construction defect (10)
   Oamags/Wrongfij Death) Tort                           __ I Insurance coverage (18)                  I - J Mass tort (40)
   I 1 Asbestos (04)                                         I Other contfsd (37)                      LJ Securities litigation (28)

     H      Product liability (24)
            Medical malpractice (45)
                                                         teal Property
                                                             I Eminent domaln/toverse
                                                                                                       LJ Environmental/Toxlc tort (30)
                                                                                                       i    I Insixance covers claims arising from the
   □ Other PI/PD/WD (23)
    Non-PtfPD/WD (Other) Tort
                                                                 condemnation (14)
                                                                 Wrongful evIcBon (33)
                                                                                                              above Isted provisionally complex case
                                                                                                              types (41)
                                                                                                       Enforcement     of Judgment
                                                                                                                                                              a>
            Business tortfunfeir business practice (07)      I Other reel propwty (26)
   mi avll rights (08)                                   Jntewful Detainer                             1   J  EntorcementofjudgrTTont(20)              Tl
   L— Defamation (13)                                            Commercial (31)                       MlaceUaneous Civil Complaint
                                                         ZD Residential (32)
                                                                                                                                                          ;
   mi Fraud (16)                                                                                       mj RICO (27)
   I        Intellectual property (19)                   II] Drugs (38)                                1 I Other complaint (not specified above) (42)
   LZ_ ProfooskMUii negligence (20)                      ludtotal Review                                MlsceHaneoua CMI Petition
   CD Other non-Pl/PDfWD tort (35)                           .I Asset forfeiture (05)                  I 1 Partnershlpandcorporategovemance(21)
    Employment                                                   Petition re: arbitration award (11) □ other petition (nof speeded abo«) (43)
   I I Wrongful termination (36)                             ] Writ of mandate (02)
   I_I Other employment (15) ___________                     ] Other judicial review (39)
7 This ragft 1 ✓ I Is              I   I la not   complex under rule 3.400 of the Califomta Rules of Court. If the case Is complex, mark the
     factors requiring exceptional judicial management:                            ___
     a I I Large number of separately represented parties                     d. 1     1 Large number of writnesses
     b. I 1 Extensive motion practice raising difficult or novel e. I                  I Coordlrration with related actions pending In one or more courts
        ___ issues that will be time^nsuming to resolve                            ___ in other counties, states, or countries, or in a federal court
     c. I     I Substantial amount of documentary evidence                     f. I 1 Substantial pos^udgment judicial supervision

3.   Remedies sought (check^Ithatapply): a.d monetary b.l / I nonmonetary; declaratory or Injunctive relief                                c.        punitive
4.   Number of causes of action (speedy): 7
5.   This case IVJ is       1 I Is rrot a class action suit.
6.   If there are any known related cases, file and serve a notice of related case. (You may use form C^W)15.;
Date: August?,2020
Todd M. Fiiedman
                                (TYPE OR PRINT NAME)                                            (SIGNATURE OF PARTY ORATTORNEY FOR PARTY)
                                                                       NOTICE
  • Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfere and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    In sanctions.
  « File this cover sheet In addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on ail
    other parties to the action or proceeding.
  • Unless tills is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes on^^
                                                                                                                                                              10*2
Form Adortad fv MMvlsrtory Um                                                                                CaL RulM or Court, ates 2.30.3.22a 3.400-3.403,3.740:
  JudkW Coutwl ofCdtomiB                               CIVIL CASE COVER SHEET                                      CaL StmiatTis (X JudUM AcTMMrMton. fU. 3.10
   044)10 (Rsv. Ju^ 1.2007]                                                                                                                     www.cout>i<b.cej)ev
                                                                                                                                          |Ainaricar> UgNNet. In& ]
                                                                                                                                   CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to fie a cover sheet with the frst paper fled in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defned as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following; (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whe^er the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                      Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injuryfl^roperty           Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
          DamageMfrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawfui detainer            Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                     Contract/Warranty Breach-Geller                 Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WO (Personal Injury/                             Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                         Other Breach of Contract/Wan’anty                   case type listed above) (41)
Tort                                               Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                      book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                      Collection Case-^elier Plaintiff                    Abstract of Judgment (Out of
          Asbestos Personal Injury/                     Other Promissory Note/Collections                          County)
                Wrongful Death                               Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or            Insurance Coverage (not provisionally                           domestic relations)
          toxic/environmental) (24)                     complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                           Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                          Other Coverage                                           (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
          Other Professional Health Care                Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                             Other Contract Dispute                              Other Enforcement of Judgment
                                               Real Property                                                       Case
     Other PI/PDAYD (23)
          Premises Liability (e.g., slip           Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                               Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                               Other Complaint (not specified
                (e.g., assault, vandalism)                                                                  above) (42)
                                                   Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                         Declaratory Relief Only
                                                       Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                      Mortgage Foreclosure
          Negligent Infliction of                                                                                  harassment)
                                                        Quiet Title
                Emotional Distress                                                                          Mechanics Lien
                                                        Other Real Property (nof eminent
          Other PI/PD/WD                                domain, landlordAenant, or                          Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                               foreclosure)                                               Case (nor}-tort/non-complex)
                                                                                                            Other Civil Complaint
     Business Tort/Unfair Business             Unlawful Detainer                                                  (norhtort/non-complex)
         Practice (07)                             Commercial (31)
                                                                                                    Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,           Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                  Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                             drugs, check this item; othenvise.               Other Petition (not specified
     Defamation (e.g., slander, libel)                 report as Commercial or Residential)                 above) (43)
           (13)                                Judicial Review                                              Civil Harassment
     Fraud (16)                                   Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Propei^ (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                 Writ of Mandate (02)                                            Abuse
         Legal Malpractice                             Writ-Administrative Mandamus                         Election Contest
         Other Professional Malpractice                Writ-Mandamus on Limited Court                       Petition for Name Change
             (not medical or legal)                         Case Matter                                     Petition for Relief From Late
     Other Non-Pi/PD/WD Tort (35)                      Writ-Other Limited Court Case                              Claim
Employment                                                  Review                                          Other Civil Petition
    Wrongful Termination (36)                     Other Judicial Review (39)
    Other Employment (15)                              Review of Health Officer Order
                                                       Notice of Appeal-Labor
                                                           Commissioner Appeals
CM.O10(Rev. July 1.2007]                                                                                                                Page 2 of 2
                                                   CIVIL CASE COVER SHEET
                           SUPERIOR COURT - MARTINEZ
                           COUNTY OF CONTRA COSTA
                           MARTINEZ, CA, 94553
WALSH VS MEDMARK SERVICES, INC.
NOTICE OF CASE MANAGEMENT CONFERENCE                    CIVMSC20-01535
1.   NOTICE: THE CASE MANAGEMENT CONFERENCE HAS BEEN SCHEDULED FOR:
DATE:     01/04/21      DEPT:   21       TIME:   8:30
THIS FORM, A COPY OF THE NOTICE TO PLAINTIFFS, THE ADR INFORMATION
SHEET, A BLANK CASE MANAGEMENT CONFERENCE QUESTIONNAIRE, AND A BLANK
STIPULATION FORM ARE TO BE SERVED ON OPPOSING PARTIES. ALL PARTIES
SERVED WITH SUMMONS AND COMPLAINT/CROSS-COMPLAINT OR THEIR ATTORNEY
OF RECORD MUST APPEAR.
2. You may stipulate to an earlier Case Management Conference, If
all parties agree to an early Case Management Conference, please
contact the Court Clerk's Office at (925)608-1000 for Unlimited Civil
and Limited Civil cases for assignment of an earlier date.
3 . You must be familiar with the case and be fully prepared to par­
ticipate effectively in the Case Management Conference and to discuss
the suitability of this case for the EASE Program, private mediation,
binding or non-binding arbitration, and/or use of a Special Master.
4. At any Case Management Conference the court may make pretrial
orders including the following:
     a.   an order establishing a discovery schedule
     b.   an order referring the case to arbitration
     c.   an order transferring the case to limited jurisdiction
     d.   an order dismissing fictitious defendants
     e.   an order scheduling exchange of expert witness information
     f.   an order setting subsequent conference and the trial date
     g-   an order consolidating cases
     h.   an order severing trial of cross-complaints or bifurcating
          issues
     i.   an order determining when demurrers and motions will be filed
                            SANCTIONS
If you do not file the Case Management Conference Questionnaire or
attend the Case Management Conference or participate effectively in
the Conference, the court may impose sanctions (including dismissal of
the case and payment of money).
        Clerk of the Superior Court of Contra Costa County
I declare under penalty of perjury that I am not a party to this
action, and that I delivered or mailed a copy of this notice to the
person representing the plaintiff/cross-complainant.
Dated:    08/10/20
                                     BROOKE POOL
                                     Deputy Clerk of the Court
                            Superior Court of California, County of Contra Costa




                         UNLIMITED JURISDICTION
                                          Civil Actions
                                              PACKET

                                     What you will find in this packet:


                       Interpreter Request (MC>300e&s)

                       Notice To Plaintiffs (CV-655a-INFO) .

                       Notice To Defendants (CV-655d-INFO)

                       ADR Case Management Stipulation and Order (CV-655b)

                       Case Management Statement (CM-110)

                       Alternative Dispute Resolution (ADR) Information (CV-655c-INFO)




          You Can Get Court Forms FREE at: www.cc-courts.org/forms

Civil-UnlMied PacKei
CV-655 Rev, 3«2/18
                          Superior Court of California, County of Contra Costa


                                                Interpreter Request


           If you need an interpreter, please complete the form below and submit it to any Filing Window or
           courtroom.

           Case Number:

           Case Type:
                    □ Criminal                                         □ Small Claims - ($10,000 or less)
                    □ Traffic                                          □ Civil-□ $25,000 Dover$25,000
                    □ Civil Harassment                                 □ Civil - Other________________
                    n Conservatorship                                 □ Family Law
                    □ Proceedings to terminate parental rights        □ Unlawful Detainer
                    □ Dependent Adult Abuse                           □ Guardianship
                    □ Juvenile                                        □ Elder Abuse

           Party Requesting Interpreter:

           Is interpreter for a witness?    □ Yes □ No

           Phone Number(s) where party can be reached:

           Date of Hearing;                                            Time of Hearing:

           Department:                   Location: □ Martinez □ Pittsburg □ Richmond □ Walnut Creek

           Language Needed; □ Spanish           □ Mandarin       □ Cantonese     □ Vietnamese

                                   □ Other:


           To avoid the risk that your hearing will have to be postponed, please submit this form a
           minimum of one week in advance.


           Current information about this program is available at our website:
           www.cc-courts.orq/interpreter




MC-300eSS Rev. 1/24^8
                         Superior Court of California, County of Contra Costa


                                              Solicitud Para Interprete



            Si necesita un interprete, favor completar este formulario y presentarlo en cualquier ventanilla
            para archivar documentos o con la secretaria del tribunal.

            Numero de Caso;

            Tipo de Caso:
                □ Criminal                                          □ Demands Civil - ($10,000 o menos)
                □ Trefico                                           □ Demands Civil -
                                                                        □ $25,000 □ mes de $25,000
                □ Acoso Civil
                                                                    □ Civil - otro tipo_______________
                □ Conservador
                                                                    □ Casos de Familia
                □ Casos para Terminar Derechos de
                  Madre o Padre                                     □ Juicio de Desalojo
                □ Abuso de Adultos Incapacitados                    □ Tutela
                □ Tribual de Menores                                □ Abuso de Personas Mayores

            Persona que Necesita Interprete:________

            □ Marque aqui si esta persona es un testigo

            Numero Telefbnico:

            Fecha de la Audiencia Judicial:                                    Hora:

            Departmento:               Ciudad: □ Martinez □ Pittsburg □ Richmond □ Walnut Creek

            Idioma Solicitado:   □ Espanol □ Mandarin □ Cantonas □ Vietnamita

                                 □ Otro Idioma: _


            Para evitar la posibilidad que su audiencia sea aplazada, favor the presenter este formulario al
            menos una semana antes de la fecha de su audiencia.


           Informacidn actualizada acerca de este seryicio se encuentra en nuestra p^gina web:
           www.cc-courts.orQ/interDreter




MC-300e&9 Rev. 1/24/18
                                  Superior Court of California. County of Contra Costa

                                              NOTICE TO PLAINTIFFS
                                           In Unlimited Jurisdiction Civil Actions

      AFTER YOU FILE YOUR COURT CASE:

      1. Have the forms the clerk gives you served on all defendants in this case:
                  a. The Complaint
                  b. The Summons
                  c. The Notice of Case Management Conference (shows hearing date and time)
                  d. The Notice to Defendants (Local Court Form CV-655d-INFO)
                  e. Blank: Case Management Statement (Judicial Council Form CM-110)
                  f.    Blank: Stipulation and Order to Attend ADR and Delay First Case Management
                        Conference 90 Days (Local Court Form CV-655b)
                  g. Alternative Dispute Resolution (ADR) Information (Local Court Form CV-655c-INFO)

      2. Within 60 days of the date you filed the complaint you must prove that the forms have
         been served on (delivered to) the defendants correctly by filing the Proof of Service
         form (POS-010) (completed by the person who did the service) with the court.

      3. Go to the case management conference on the date indicated on The Notice of Case
         Management Conference.

      4. Consider using mediation, arbitration, or neutral case evaluation (ADR) tOTesolve the
         dispute. All parties must answer questions about ADR on the Case Management Statement
         form. For more information, see the enclosed ADR information, visit www.cc-courts.org/adr.
         or email adrweb@contracosta.courts.ca.gov

      5. You may delay the first case management conference while you try to resolve the
         dispute in ADR. If all parties agree to use ADR, complete and file the Stipulation and Order
         to Attend ADR and Continue First Case Management Conference 90 Days form to tell the
         court you want to use this option.

      All civil actions (except juvenile, probate, family, unlawful detainer, extraordinary writ, and asset
      forfeiture^) and personal injury cases where a party is claiming damages^ must meet the Civil
      Trial Delay Reduction time limits for filing documents and moving their cases forward. These
      time limits are listed in California Rule of Court 3.110 and Local Court Rules; Title Three. If
      parties miss these deadlines, a judge might issue an order {Order to Show Cause) for them to
      explain in court why they should not have to pay a fine or have their case dismissed.

                             VIEW LOCAL COURT RULES AT: (WWW.CC-COURTS.ORG/RULES)



      ^ Health and Safety Code §11470 et seq.
      ^ Including claims for emotional distress and/or wrongful death.

Civil - Info! Instructions
CV.655a-INFO Rev.Bf16/16
                                Superior Court of California. County of Contra Costa

                                             NOTICE TO DEFENDANTS
                                          In Unlimited Jurisdiction Civil Actions

YOU ARE BEING SUED. The packet you have been served should contain:
     a.   The Summons
     b.   The Complaint
     c.   The Notice of Case Management {shows hearing date and time)
     d.   Blank: Case Management Statement (Judicial Council Form CM-110)
     e.   Blank: Stipulation and Order to Attend ADR and Delay First Case Management Conference
          90 Days (Local Court Form CV-655b)
     f.   Alternative Dispute Resolution (ADR) Information (Local Court Form CV-655c-INFO)


                                                WHAT DO I DO NOW?
           You must:
                  1. Prepare your response YOU COULD LOSE YOUR CASE—even before it is heard by
                     a judge or before you can defend yourself, if you do not prepare and file a response on
                     time. See the other side of this page for types of responses you can prepare.
                 2. Complete the Case Management Statement (CM-110)
                 3. File and serve your court papers on time Once your court forms are complete, you
                    must file 1 original and 2 copies of the forms at court. An adult who is NOT involved in
                    your case must serve one set of forms on the Plaintiff. If you were served in person you
                    must file your response in 30 days. If the server left a copy of the papers with an adult
                    living at your home or an adult in charge at your work or you received a copy by mail you
                    must file your response in 40 days.
                 4. Prove you served your court papers on time by having your server complete a Proof
                    of Service, (Judicial Council form POS-040), that must be filed at the court within 60 days.
                 6. Go to court on the date and time given in the Notice of Case Management Conference.
                 6. Consider trying to settle your case before trial If you and the other party to the case can
                    agree to use mediation, arbitration or neutral case evaluation, the Stipulation and Order
                    to Attend ADR and Delay First Case Management Conference 90 Days can be filed with
                    your other papers. For more information read the enclosed ADR information, visit
                    www.cc-courts.orQ/adr. or email adrweb@contracosta.courts.ca.Qov.

    IMPORTANT! The court recommends consulting an attorney for all or part of your case. While you
    may represent yourself, lawsuits can be complicated, and the court cannot give you legal advice.


COURT FEES: You must pay court fees the first time you file your papers. If you also file a motion, you must
pay another fee. If you cannot afford the fees, you may ask the court to waive (allow you not to pay) fees.
Use Judicial Council forms FW-001-INFO [information sheet]; FW-001 [application]; and FW-003 [order].


COURT FORMS: Buy forms at the Law Library (1020 Ward Street, Martinez, CA) or download them for free
at: www.courtinfo.ca.aov/forms/



Civil - Info I Instructions
CV.a55<WNFO Rev. 8/16/16
                                                WHAT KIND OF RESPONSES CAN I FILE?
     1. If you disagree with some or all of what the plaintiff says in the complaint because you believe, or
        know it is not true, you can file an ANSWER.
     2. If you have a claim in the same case against the plaintiff, you may file a CROSS-COMPLAINT.
     3. If you want to ask the court to do something on your behalf, you may file a MOTION (See TYPES OF
        MOTIONS below)



                                                   HOW DO I PREPARE AN ANSWER?
     There are two kinds of Answers you can use, depending on whether the Complaint was verified. You can tell if a
     Complaint is verified because it says “Verified Complaint" and/or has a signed oath on the last page.

     For complaints that are NOT verified:
                 Use Judicial Council form PLD-050 - General Denial
     For complaints that ARE verified:
                 a.    For personal injury, property damage, and wrongful death claims, use Judicial Council PLD-PI-003
                       (do not check number 2).
                 b.     For contract claims, use Judicial Council PLD-C-010 (do not check number 3a).
                 c.    Be sure to deny every claim with which you disagree. For example, you might write; “/ believe, or know,
                       that the information in paragraph #_is untrue/incorrect. ” Continue your list until you have addressed
                       each paragraph in the Complaint.
    NOTE: The Judicial Council Answer forms have spaces for your affirmative defenses. Be sure to include them or you
    may not be able to use them later. To find out what your affirmative defenses might be, go to the law library and ask
    the librarian to help you find the information you need.
     If you want to file a Cross-Complaint, you must do so at the same time you file the Answer.
                 a.    For a personal injury, property damage, and/or wrongful death Cross-Complaint, use Judicial Council form
                       PLD-PI-002.
                 b.    For a contract Cross-Complaint, use Judicial Council PLD-C-001.



                                                           TYPES OF MOTIONS
     Written motions are documents that ask the court to do something. You may have to file an Answer at the same time.
     At this point in the case, you can only make Motions from the following list:
           1. Demurrer (the facts stated in the complaint are wrong, or the deadline to file the lawsuit has passed):
           2. Motion to Strike (the complaint is unclear, does not follow the law, “doesn't matter^, etc.);
           3. Motion to Transfer (the complaint is in the wrong court or there's a more appropriate court);
           4. Motion to Quash Service of Summons (vou were not legally served):
           5. Motion to Stay (put the case on hold); or
           6. Motion to Dismiss (stops the case).
                              NOTE: Motions are very complicated and you may want to hire a lawyer to help you.



                                                    WHERE CAN I GET MORE HELP?
           •     Lawyer Referral Service; (925) 825-5700
           •     Bay Area Legal Aid: (800)551-5554
           •     Contra Costa County Law Library        IMartinez: (925)646-2783                   Richmond: (510)374-3019
           •     Ask the Law Librarian:   www.247ref.org/portal/accessJaw3.cfm

Civil - Info I Instructions
CV-655d-INFO Rev. 8/16/16
                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                     IN AND FOR THE COUNTY OF CONTRA COSTA



                                         Platntiff(s) / Cross Plaintiff(s)
                                   vs.
                                                                             ADR Case Management Stipulation and Order
                                                                                 (Unlimited Jurisdiction Civil Cases)

                                                                                                    CASE NO:
                                   Defendant(s) I Cross Defendanl(s)

       ►     ALL PARTIES STIPULATING TO ADR AND DELAYING THEIR CASE MANAGEMENT CONFERENCE 90 DAYS
             MUST SUBMIT THE ORDER FOR THE JUDGE’S SIGNATURE AND FILE THIS FORM AT LEAST 15 DAYS
             BEFORE THEIR CASE MANAGEMENT CONFERENCE. (NOT AVAILABLE IN COMPLEX LITIGATION CASES.)
       ►     PARTIES MUST ALSO SEND A COPY OF THIS FILED STIPULATION AND ORDER TO THE ADR OFFICE:
             EMAIL adrvtfeb@contracosta.courts.ca.QOv FAX: (925) 608-2109 MAIL: P.O. BOX 911, MARTINEZ, CA 94553

   Counsel and all parties agree to delay their case management conference 90 days to attend ADR and complete pre-
   ADR discovery as follows:
   1. Selection and scheduling for Alternative Dispute Resolution (ADR):
         a. The parties have agreed to ADR as follows:
                   i. □ Mediation (□ Court-connected □ Private)
                  ii. □ Arbitration (□ Judicial Arbitration (non-binding) □ Private (non-binding) □ Private (binding)) \
                 iii. □ Neutral case evaluation
         b. The ADR neutral shall be selected by (date):________ _______ (no more than 14 days after filing this form).
         c. ADR shall be completed by (date):________________ (no more than 90 days after filing this form)
   2. The parties will complete the followino discovery plan:
         a. □ Written discovery: (□ Additional page(s) attached)
                   i. □ Interrogatories to:
                  ii. □ Request for Production of Documents to:
                iii. □ Request for Admissions to:
                iv. □ Independent Medical Evaluation of:
                  V. □ Other:
         b. □ Deposition of the following parties or witnesses: (□ Additional page(s) attached)


                iii.
         c. □ No Pre-ADR discovery needed
   3. The parties also agree: _____________

   4. Counsel and self-represented parties represent they are familiar v/ith and will fully comply with all local court rules related to
      ADR as provided in Title Three; Chapter 5, will pay the fees associated with these services, and understand that if they do
      not, without good cause, comply with this stipulation and all relevant local court rules, they may be subject to sanctions.


   Counsel for Plaintiff (print)                         Fax                  Counsel for Defendant (print)                         Fax

   Signature                                                                  Signature

   Counsel for Plaintiff (print)                         Fax                  Counsel for Defendant (print)                        Fax

   Signature                                                                  Signature


   Pursuant to the Stipulation of the parties, and subject to the Case Management Order to be filed, IT IS SO ORDERED that
   the Case Management Conference set for ________________ is vacated and rescheduled for____________ at
   (8:30 a.m. /             ) Plaintiff / Plaintiff’s counsel must notify all parties of the new case management conference.

   Dated:
                                                                                                              Judge of the Superior Court

Local Court Form (Manrisiory)                                                                                                Local Court Rula3.4{n)(1)
CV-655b Rev. 10/14/16
                                                                                                                                                   CM-110
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. Slate Barnuml>er. and etidress):                                            FOR COURT USE ONLY




                  TELEPHONE NO.                             FAX NO. (Optional):
      E-MAIL ADDRESS (Optional)
         ATTORNEY FOR (Name)

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF
       STREET ADDRESS;

       MAILING ADDRESS:

      CITY AND ZIP CODE:

          BRANCH NAME:

         PLAINTIFF/PETITIONER:
 DEFENDANT/RESPONDENT:

                                  CASE MANAGEMENT STATEMENT                                              CASE NUMBER:

 (Check one):              □□ UNLIMITED CASE                           J LIMITED CASE
                              (Amount demanded                           (Amount demanded is $25,000
                              exceeds $25,000)                           or less)

 A CASE MANAGEMENT CONFERENCE is scheduled as follows;
 Date;                                           Time;                            Dept.;               Oiv.;                     Room;
 Address of court (if different from the address above):

  I       I Notice of Intent to Appear by Telephone, by fname^;

                    INSTRUCTIONS: All applicable boxes must be checked, and the specified Infonnation must be provided. ^
1.      Party or parties (answer one):
         a.   I      I This statement is submitted by party (name):
         b.   I      I This statement is submitted jointly by parties (names):


2.      Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
        a. The complaint was filed on (date):
        b. I   I The cross-complaint, if any, was filed on (date):

3.      Service (to be answered by plaintiffs and cross-complainants only)
        a.     ] All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
        b. I    I The following parties named in the complaint or cross-complaint
                   (1) L I have not been served (specify names and explain why not):

                        (2)   [   ]   have been served but have not appeared and have not been dismissed (specify names):

                        (3)   [   ]   have had a default entered against them (specify names):

        c.    I      I The following additional parties may be added (specify names, nature of involvement in case, and date by which
                       they may be served):


A.      Description of case
        a. Type of case in [           ]   complaint               j    cross-complaint    (Describe, including causes of action):



                                                                                                                                                    Page 1 of S
Form Adopted tor Martdatory Use
  Judidat Coundl of California
                                                       CASE MANAGEMENT STATEMENT                                                             Cal. Rules of Court,
                                                                                                                                              rules 3.720-3.730
  CM-110(Rev. July 1.2011]                                                                                                                    www.counsca.gov
                                                                                                                                            CM-110
                                                                                                         CASE NUMBER:
           PLAINTIFF/PETITIONER;
  OEFENDANT/RESPONDENT;

4. b.        Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
             damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
             earnings to date, and estimated future lost earnings. If equitable relief is sought, deschbe the nature of the relief.)




      I      I     (If more space is needed, check this box and attach a page designated as Attachment 4b.)
 5.   Jury or nonjury trial                ___                   ___
      The party or parties request         I   I a jury trial    I   I a nonjury trial.   (If more than one party, provide the name of each party
      requesting a jury trial):

6.    Trial date
      a. ___] The trial has been set for (date):
      b. I     I No trial date has been set. This case will be ready for trial within 12 months of tho doto of the filing of the complaint (if
                 not, explain):

      c.     Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):


 7. Estimated length of trial
    The party or parties estimate that the trial will take (check one):
      a.     L J days (specify number):
      b.     I  I hours (short causes) (specify):


 8. Trial representation (to be answered for each party)
     The party or parties will be represented at trial I I by the attorney or party listed in the caption               I   I by the following:
     a. Attorney:
     b. Firm:
     c. Address:
     d. Telephone number:                                                     f. Fax number:
     e. E-mail address:                                                       g. Party represented:
    [ ] Additional representation is described in Attachment 8.
9. Preference
   I   I This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
      a.     ADR information package. Please note that different ADR processes are available in different courts and communities; read
             the ADR information package provided by the court under rule 3.221 for information about the processes available through the
             court and community programs in this case.
           (1) For parties represented by counsel: Counsel I     I has I        I has not provided the ADR information package identified
               in rule 3.221 to the client and reviewed ADR options with the client.
           (2) For self-represented parties: Party [            has I     I has not reviewed the ADR information package identified in rule 3.221.
      b. Referral to Judicial arbitration or civil action mediation (if available).
           (1) □□  This matter is su^ect to mandatory judicial arbitration under Code of Civii Procedure section 1141.11 or to civil action
                   mediation under Code of Civii Procedure section 1775.3 because the amount in controversy does not exceed the
                   statutory limit.
           (2) I      I Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                        Civii Procedure section 1141.11.
           (3) I      I This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                        mediation under Code of Civil Procedure section 1775 et seq. (specify exemphon):


CM-110 {Rev. July 1.2011)                                                                                                                    Page 2 of 5
                                                    CASE MANAGEMENT STATEMENT
                                                                                                                                   CM-110
                                                                                                CASE NUMBER:
     PLAINTIFF/PETITIONER;
DEFENDANT/RESPONDENT:

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information):


                            The party or parties completing     If the party or parties completing this form in the case have agreed to
                            this form are willing to            participate in or have already completed an ADR process or processes,
                            participate in the following ADR    indicate the status of the processes (attach a copy of the parties' ADR'
                            processes (check all that apply):   stipulation):


                                                                     } Mediation session not yet scheduled


   (1) Mediation                         !!□                         ] Mediation session scheduled for (date):

                                                                     ] Agreed to complete mediation by (date):

                                                                     ] Mediation completed on (date):


                                                                     ] Settlement conference not yet scheduled

  (2) Settlement
      conference
                                         o                           ] Settlement conference scheduled for (date):

                                                                     ] Agreed to complete settlement conference by (date);

                                                                     ] Settlement conference completed on (date):


                                                                     ] Neutral evaluation not yet scheduled


   (3) Neutral evaluation                □                           } Neutral evaluation scheduled for (date);

                                                                     ] Agreed to complete neutral evaluation by (date);

                                                                     ] Neutral evaluation completed on (date):


                                                                     ] Judicial arbitration not yet scheduled

  (4) Nonbinding judicial                                            ] Judicial arbitration scheduled for (date);
      arbitration
                                                                     ] Agreed to complete judicial arbitration by (date);

                                                                     ] Judicial arbitration completed on (date):


                                                                     ] Private arbitration not yet scheduled

                                                                     ] Private arbitration scheduled for (date);
  (5) Binding private
      arbitration
                                         o
                                                                     ] Agreed to complete private arbitration by (date);

                                                                     ] Private arbitration completed on (date):


                                                                     ] ADR session not yet scheduled

                                                                     ] ADR session scheduled for (date);
  (6) Other (specify):                   o
                                                                     ] Agreed to complete ADR session by (date);

                                                                     ] ADR completed on (date):


CM-nO[Rev. Juty 1.2011)                                                                                                            Page 3 of 6
                                            CASE MANAGEMENT STATEMENT
                                                                                                                                          CM.11Q
                                                                                                     CASE NUMBER:
          PLAINTIFF/PETITtONER:

  DEFENDANT/RESPONDENT:

11. Insurance
    a. I    I Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights; I        I Yes I          I No
    c. I    I Coverage issues will significantly affect resolution of this case (explain):



12. Jurisdiction
    Indicate any matters that may affect the court’s jurisdiction or processing of this case and describe the status.
      [ ] Bankruptcy I I Other (specify):
    Status;

13. Related cases, consolidation, and coordination
    a.      ] There are companion, underlying, or related cases.
                  (1) Name of case;
                  (2) Name of court;
                  (3) Case number;
                  (4) Status;
                ] Additional cases are described in Attachment 13a.
     b.     I   IA motion to      I    I consolidate      I   I coordinate       will be filed by (name party):

14. Bifurcation
   [ ] The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
          action {'spec/^ mowng party, type of motion, and reasons):



15. Other motions
    [      ] The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):



 16. Discovery
     a. I   I The party or parties have completed all discovery.
     b. I   I The following discovery will be completed by the date specified (describe all anticipated discovery):
              Party                                    Description                                                  Date




        c. [    ] The following discovery issues, including issues regarding the discovery of electronically stored information, are
                  anticipated (specify):




CM.UOIRbv, July 1,2011)
                                                CASE MANAGEMENT STATEMENT                                                                 Page 4 of 6
                                                                                                                                         CM-110
                                                                                                      CASE NUMBER:
       PLAINTIFF/PETITIONER;

 OEFENDANT/RESPONDENT:


 17. Economic litigation
     a. I I This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
            of Civil Procedure sections 90-98 will apply to this case.
       b. I     I This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                  discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                  should not apply to this case):




18. Other issues
    I  I The party or parties request that the following additional matters be considered or determined at the case management
         conference (specify):




19. Meet and confer
    a. I  I The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
            of Court (if not, explain):



      b. After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
         (specify):




 20. Total number of pages attached (if any):

 I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
 as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
 the case management conference, including the written authority of the party where required.

 Date;


                                                                                 ►
                            (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATTORNEY)




                            (TYPE OR PRINT NAME)
                                                                                 ►                 (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                 I    I Additional signatures are attached.




CM.110lRev. July 1.2011)                                                                                                                  Page $ of 6
                                                   CASE MANAGEMENT STATEMENT
                                   CONTRA COSTA COUNTY SUPERIOR COURT
                              ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION


            All judges in the Civil Trial Delay Reduction Program agree that parties should consider using
            Alternative Dispute Resolution (ADR) to settle their cases. To tell the court you will use ADR:
                  •     Choose ADR on the Case Management Form fCM-l 10);
                  •     File a Stipulation and Order to Attend ADR and Continue First Case Management
                        Conference 90-Days (local court form); or
                  •     Agree to ADR at your first court appearance.
            Questions? Email adrweb(a).contracosta.courts.ca.aov or call (925) 608-2075


         MEDIATION
         Mediation is often faster and less expensive than going to trial. Mediators help people who have a
         dispute talk about ways they can settle their case. Parties email, fax or visit the ADR Programs
         office to get a list of mediators. After parties have agreed on a mediator, they must write a summary
         (5 pages or less) explaining the facts, legal arguments, and legal authority for their position. They
         must send this summary to the other parties and the mediator at least 5 court days before mediation
         starts.

         ALL parties and attorneys must go to mediation. Mediation can be held whenever and wherever the
         parties and the mediator want, as long as they finish before the court deadline. In some kinds of
         court cases, parties have the chance to mediate in the courthouse on their trial day.

         Most mediators begin by talking with the parties together, helping them focus on the important
         issues. The mediator may also meet with each party alone. Mediators often ask parties for their
         ideas about how to settle the case. Some mediators tell the parties how much money they think a
         case is worth, or tell them what they think might happen if the case went to trial. Other mediators
         help the parties decide these things for themselves. No matter what approach a mediator takes,
         decisions about settling a case can only be made when all the parties agree.

         If the parties go through the court ADR program, mediators do not charge fees for the first half hour
         spent scheduling or preparing for mediation. They also do not charge fees for the first two hours of
         mediation. If parties need more time, they must pay the mediators regular fees. Some mediators ask
         for a deposit before mediation starts. Mediators who do this must give back whatever is left after
         counting the time he or she spent preparing for or doing the mediation. A party whose court fees
         have been waived (cancelled) may ask if their mediation fees or deposit can be waived.

         If parties agree about how they will settle their case, they can choose to keep it private, write it up as
         a contract, or ask the judge to make it a court order. What parties say and agree to in mediation is
         confidential (private).

        PRIVATE MEDIATION
        Private mediation works in the same way as judicial mediation, but the parlies do not go through the
        ADR Programs office. Parties choose a mediator on their own, and pay the mediator's normal fees.


Civil - (rtfonnatlon
CV.655C-INFO Rev. 10/14/16
         JUDICIAL ARBITRATION (non-bindino)
         In judicial arbitration, an independent attorney (arbitrator) looks at the evidence, listens to the parties
         and their witnesses, and decides how the case will be settled. Judicial arbitration is less formal than
         court. Parties email, fax or visit the ADR Programs office to get a list of arbitrators. If they cannot
         agree on an arbitrator, the court will assign one. The judge can send cases to arbitration If there is
         less than $50,000 in dispute. The person who started the court case can make sure the case goes
         to arbitration if they agree to limit the amount they are asking for to $50,000. Parties can also agree
         they want to use judicial arbitration. The arbitrator must send their decision (award) to the court
         within 10 days of the last hearing. The award becomes a court judgment unless a party asks the
         court to review the case within 60 days. Parties must use the ADR-102 form to ask for a new court
         hearing (called a trial de novo.) Judicial arbitrators charge $150 per case or per day.

         PRIVATE ARBITRATION (non-binding and binding)
         Private, non-binding arbitration is the same as judicial arbitration, except that the parties do not go
         through the ADR Programs office to choose an arbitrator, and the arbitrator’s award will not become
         a judgment of the court unless all parties agree. Parties must pay the arbitrator’s normal fees.

         Binding arbitration is different from judicial or private non-binding arbitration because the arbitrator's
         decision is final. Parties give up their right to have a judge review their case later (except for reasons
         listed in California Code of Civil Procedure, Section 1286.2.) Binding arbitration rules are listed in
         California Code of Civil Procedure. Sections 1280-1288.8. Parties may also agree any time before
         the judge has made a decision that ends the case to switch to binding arbitration. Parties choose the
         arbitrator on their own. and must pay the arbitrator’s normal (not $150) fees.

         SETTLEMENT MENTOR CONFERENCE
         Settlement mentors are independent, experienced trial attorneys that a judge has assigned to help
         parties look for ways to settle their case. The conference is free and is held in the courthouse. It is
         often held on the morning of trial, but it can be scheduled anytime. These conferences usually last
         two or three hours. Parties do not present evidence and do not call witnesses. Parties can ask the
         settlement mentor to keep some information confidential (private) from the other party, but not from
         the judge. The settlement mentor can share any information with the judge, or involve the judge In
         settlement discussions. All principals, clients, and claims representatives must attend the settlement
         mentor conference.

         NEUTRAL CASE EVALUATION
         In neutral case evaluation, an independent attorney (evaluator) reviews documents and listens to
         each party’s side of the case. The evaluator then tells the parties what they think could happen if the
         case went to trial. Many people use the evaluator’s opinion to reach an agreement on their own, or
         use this information later in mediation or arbitration to settle their case.

         Parties email, fax or visit the ADR Programs office to get a list of evaluators. After parties have
         agreed on an evaluator, they must write a summary (5 pages or less) explaining the facts, legal
         arguments, and legal authority for their position. They must send this summary to the other parties
         and the evaluator at least 5 court days before evaluation starts. ALL parties and their attorneys must
         go to neutral case evaluation. The evaluation can be held whenever and wherever the parties and
         the evaluator want, as long as they finish before the court deadline. If the parties go through the
         court’s ADR program, evaluators do not charge any fees for the first half hour spent scheduling or
         preparing for the evaluation conference. They also do not charge fees for the first two hours of the
         evaluation. If parties need more time, they must pay that evaluators regular fees. Some evaluators
         ask for a deposit before evaluation starts. Evaluators who do this must give back whatever is left
         after counting the time he or she spent preparing for or doing the evaluation. A party whose court
         fees have been waived (cancelled) may ask if their evaluation fees or deposit can be waived.


civil - Information
CV.655C-INFO Rev. 10/t<U16
         TEMPORARY JUDGE
         Some parties want a trial, but want to choose who will decide the case and when the trial will take
         place. Parties can agree on an attorney that they want the court to appoint as a temporary judge for
         their case. (See Article 6, Section 21 of the State Constitution and Rule 2.830 of the California Rules
         of Court.) Temporary judges have nearly the same authority as a superior court judge to conduct a
         trial and make decisions. As long as the parties meet the court deadline, they can schedule the trial
         at their own and the temporary judge’s convenience.

         Each of the temporary judges on the court’s panel has agreed to serve at no charge for up to 5 court
         days. If the parties need more time, they must pay that person’s regular fees. All parties and their
         lawyers must attend the trial, and provide a copy of all briefs or other court documents to the
         temporary judge at least two weeks before the trial. These trials are similar to other civil trials, but
         are usually held outside the court. The temporary judge’s decision can be appealed to the superior
         court. There is no option for a jury trial. The parties must provide their own court reporter.

         SPECIAL MASTER
         A special master is a private lawyer, retired judge, or other expert appointed by the court to help
         make day-to*day decisions in a court case. The special master’s role can vary, but often includes
         making decisions that help the discovery (information exchange) process go more smoothly. He or
         she can make decisions about the facts in the case. Special masters can be especially helpful in
         complex cases. The trial judge defines what the special master can and cannot do in a court order.

         Special masters often issue both interim recommendations and a final report to the parties and the
         court. If a party objects to what the special master decides or reports to the court, that party can ask
         the judge to review the matter. In general, the parties choose (by stipulation) whom they.want the
         court to appoint as the special master, but there are times (see California Code of Civil Procedure
         Section 639), when the court may appoint a special master or referee without the parties'
         agreement. The parties are responsible to pay the special master’s regular fees.

         COMMUNITY MEDIATION SERVICES
         Mediation Services are available through non-profit community organizations. These low-cost
         services are provided by trained volunteer mediators. For more information about these programs
         contact the ADR Program at adrweb@contracosta.courts.ca.qov




Civil - Information
CV-6SSC-INFO Rev. 10/14/16
                                                                       Service of Process
                                                                       Transmittal
                                                                       08/25/2020
                                                                       CT Log Number 538149071
TO:      David K. White, President & CEO
         Baymark Health Services Inc.
         1720 LAKEPOINTE DR STE 117
         LEWISVILLE, TX 75057-6425

RE:      Process Served in California

FOR:     Medmark Services, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  JIMMY WALSH, etc., Pltf. vs. MEDMARK SERVICES, INC., Dft.
DOCUMENT(S) SERVED:               -
COURT/AGENCY:                     None Specified
                                  Case # C2001535
NATURE OF ACTION:                 Medical Injury - Improper Care and Treatment - -
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Los Angeles, CA
DATE AND HOUR OF SERVICE:         By Process Server on 08/25/2020 at 12:54
JURISDICTION SERVED :             California
APPEARANCE OR ANSWER DUE:         None Specified
ATTORNEY(S) / SENDER(S):          None Specified
ACTION ITEMS:                     SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780111965182

                                  Image SOP

                                  Email Notification, Susan Meyercord smeyercord@medmark.com

                                  Email Notification, Esther Cole-Torres ecole-torres@baymark.com

SIGNED:                           C T Corporation System
ADDRESS:                          208 LaSalle Ave
                                  Suite 814
                                  Chicago, IL 60604
For Questions:                    866-539-8692
                                  CorporationTeam@wolterskluwer.com




                                                                       Page 1 of 1 / KS
                                                                       Information displayed on this transmittal is for CT
                                                                       Corporation's record keeping purposes only and is provided to
                                                                       the recipient for quick reference. This information does not
                                                                       constitute a legal opinion as to the nature of action, the
                                                                       amount of damages, the answer date, or any information
                                                                       contained in the documents themselves. Recipient is
                                                                       responsible for interpreting said documents and for taking
                                                                       appropriate action. Signatures on certified mail receipts
                                                                       confirm receipt of package only, not contents.
                                                  Wolters Kluwer

                PROCESS SERVER DELIVERY DETAILS




Date;            Tue, Aug 25, 2020

Server Name:     judith smith

Location:        Los Angeles, CA-LA




Entity Served     MedMark Services, Inc.

Agent Name

Case Number      C20-01535

Jurisdiction     CA-LA
